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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF CALIFORNIA
                         SAN FRANCISCO DIVISION

                                      Case No. 3:25-cv-2847
COMMUNITY LEGAL SERVICES IN EAST      DECLARATION OF MARION
PALO ALTO, et al.,                    (“MICKEY”) DONOVAN-KALOUST
              Plaintiffs,             (IMMDEF) IN SUPPORT OF
                                      PLAINTIFFS’ MOTION FOR A
     v.                               TEMPORARY RESTRAINING ORDER
                                      AND PRELIMINARY INJUNCTION
UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES, et al.,

             Defendants.
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            DECLARATION OF MARION DONOVAN-KALOUST
 DIRECTOR OF LEGAL SERVICES FOR IMMIGRANT DEFENDERS LAW CENTER


I, Marion Donovan-Kaloust, make the following statements on behalf of myself and Immigrant
Defenders Law Center. I certify under penalty of perjury that the following statement is true and
correct pursuant to 28 U.S.C. § 1746.
   1. My name is Marion Donovan-Kaloust, and I am the Director of Legal Services of the
      Children’s Representation Project (“CRP”) at Immigrant Defenders Law Center
      (“ImmDef”), where I have been employed for almost ten years. ImmDef is a non-profit
      organization headquartered in Los Angeles, California, with additional offices in Santa
      Ana, Riverside and San Diego. ImmDef believes in providing universal representation so
      that no immigrant is forced to face removal proceedings without an attorney or accredited
      representative at their side. ImmDef is the largest provider of legal services to
      unaccompanied children in California and currently provides legal services to children
      housed in seventeen Office of Refugee Resettlement (“ORR”) facilities throughout
      Southern California. ImmDef also represents thousands of unaccompanied children who
      have been released from ORR and are residing with sponsors in the Greater Los Angeles
      area.
   2. ImmDef’s mission and vision is that no immigrant should have to face deportation
      proceedings alone. We believe that every person facing removal deserves to have zealous,
      competent counsel at their side. We represent approximately 3,100 noncitizens annually in
      their removal proceedings and provide other legal services to approximately 33,000
      additional noncitizens. We provide pro bono representation and other legal services to
      unaccompanied minor children, indigent detained adults, individuals deemed mentally
      incompetent to represent themselves, deported veterans, and families separated at the
      border, among others. Our CRP program is the largest of our departments and has primary
      responsibility for carrying out this mission and vision as it relates to unaccompanied
      children.
   3. In order to carry out its mission, ImmDef’s CRP program has several main work
      components: (1) Providing legal education “know your rights” (“KYR”) presentations,
      conducting individual consultations (legal screenings), and making referrals to legal
      service providers for detained children who will not remain in our service area, as well as
      Child Advocate referrals and appearing as Friend of Court for unrepresented detained
      children; (2) Representing unaccompanied minors who are not in ORR custody in
      immigration proceedings, including children who have been released to sponsors, and those
      residing in the Unaccompanied Refugee Minor (“URM”) program; and (3) Representing
      children in ORR custody in immigration proceedings. We represent children in short-term
      ORR custody as well as children who have been placed in long-term foster care settings.


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   We further host Immigrant Justice Corps (“IJC”) fellows to represent released
   unaccompanied children in removal proceedings and provide Spanish-language tutoring
   for non-Spanish speaking staff representing unaccompanied children.
4. ImmDef has been providing legal services for unaccompanied immigrant children in
   California since 2015. Providing legal services to unaccompanied children has always been
   at the core of ImmDef’s work. In 2024 alone, we provided KYRs and legal screenings to
   over 3,750 children and made over 4,200 referrals for legal services. We offered full-scope
   representation to over 670 detained children and to over 175 children who had been
   released from ORR custody, including children placed in the URM program. ImmDef
   currently represents over 1,900 unaccompanied children in their removal proceedings
   under the UCP contract.
5. Of our staff of over 200, ImmDef has hired approximately 113 staff funded with U.S.
   Department of Health and Human Services (“HHS”) funding dedicated to providing legal
   services to unaccompanied immigrant children. Specifically, ImmDef’s CRP project
   employs forty-three attorneys, four IJC Attorney Fellows, and thirty-eight non-attorney
   support staff providing direct representation services. We also employ twenty-five Program
   Associates and Program Coordinators with primary responsibility for providing KYRs,
   legal screenings and referrals for detained children.
6. ImmDef staff providing representation and non-representation legal services (such as
   KYRs and legal screenings to children) in ORR-subcontracted facilities regularly travel to
   each such facility in person to conduct client interviews, prepare clients for hearings, and
   provide legal education and individual consultations. Our team visits each of the thirteen
   short-term ORR subcontracted facilities whenever there are new arrivals, as well as when
   children in care need follow-up legal services (typically resulting in weekly facility visits).
   Attorneys also regularly visit children detained in each of the four long-term foster care
   programs we serve to help them pursue their immigration cases. The vast majority of
   children we serve have fled dangerous circumstances in their home countries, including
   trafficking, child abuse and neglect, and community violence. Take for example some of
   our clients—a 16-year-old girl, and her one-year-old son. Beginning at the age of six years-
   old, our older client was sex trafficked by her own family in Mexico. After giving birth to
   her son, she fled to the U.S. to save him from the same fate.
7. Our office represents children like these pro bono in their removal proceedings, including
   representation before immigration courts and U.S. Citizenship and Immigration Services
   (“USCIS”). We also represent children before the California Superior Court in connection
   with applications for Special Immigrant Juvenile Findings (which are necessary to apply
   for Special Immigrant Juvenile Status, a form of immigration protection available to
   children who have experienced abuse, abandonment or neglect). We pursue victim-based
   relief such as asylum, T-nonimmigrant status for victims of trafficking, U-nonimmigrant


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   status for children who have experienced crimes in the United States, and Special
   Immigrant Juvenile Status, as well as litigating any other relief for which the children may
   be eligible
8. For detained children, we play a key role in advocating with ORR-subcontracted facilities
   and other stakeholders to ensure that children’s needs are being met while in ORR custody.
   For example, we make referrals to Child Advocates, advocate directly with ORR to avoid
   unnecessary “step ups” for children at risk of being placed in more restrictive detention
   settings, and request Trafficking Victim designations from the Office of Trafficking in
   Persons. Because we are an independent, non-governmental organization, children often
   share concerns with us they do not feel comfortable sharing with ORR-subcontracted staff
   or other stakeholders. Thus, we are key voices for detained children—ensuring their rights
   are respected and their needs are being met while in care. As an example, I once met with
   a detained child who was wearing a thick, hooded sweatshirt with the hood up in 95+
   degree weather. When I asked her about it, she explained that her Muslim faith required
   her to cover her hair, but the ORR-subcontracted facility had not provided her with head
   coverings. ImmDef was able to advocate for her religious rights to be respected and her
   cultural needs met. Every day there are new similar examples of our life-saving and life-
   affirming work.
9. The children we serve range in age from infants to teenagers, and the vast majority are
   indigent (which is unsurprising given that they are children). Children, especially detained
   children, are still recovering from their journey and have yet to reach a place of security
   and permanency. Our team must often conduct multiple meetings with children to build
   trust and rapport. We also serve children from diverse geographic, linguistic and cultural
   backgrounds. While most of our staff are bilingual in Spanish and English, in recent years,
   we have seen an increase of children from non-majority-Spanish-speaking countries, who
   require interpretation in order for their stories to be told and their rights to be vindicated.
   We also often serve indigenous children from Mexico, Guatemala and Ecuador who
   similarly require interpretation into a Mayan language or Quechua. The vast majority of
   children we serve have also experienced significant trauma, whether in their home
   countries, on the journey to the United States, or at the hands of U.S. Immigration Officials
   (or all three). As a result of these factors, ImmDef’s staff is highly trained to conduct our
   services using child-friendly, trauma-informed and culturally responsive methods. Due to
   these same factors, the children cannot be expected to represent themselves in immigration
   court, nor can they expect to rely on a private attorney who may charge much more than
   they can afford, and who may lack the training and linguistic or cultural responsiveness to
   effectively represent them.
10. We also serve children detained in remote ORR-subcontracted facilities, far from the Los
    Angeles city center. As ORR-subcontracted bed capacity expanded in the last several years,
    ImmDef was repeatedly tapped to serve children in the more remote facilities because no

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    other attorneys would agree to travel to those distant locations. Because of ImmDef’s
    mission and vision, and our expertise serving unaccompanied children, we agreed to take
    on the work—we refused to leave children unserved, even though doing so stretched our
    capacity. It would be unreasonable to expect that these children’s needs might be met by
    the private bar in these underserved regions—we have seen in practice that it cannot be
    done.
11. Finally, immigration is an exceedingly complex area of law that changes rapidly. Our legal
    staff is constantly monitoring changes in case law, listservs, the news, and government
    announcements to ensure we have up-to-date information to provide the best representation
    for our clients. Children cannot be expected to navigate our complicated legal immigration
    system on their own. In fact, when ImmDef has worked with pro bono attorneys to provide
    legal representation for children, we have found that even licensed attorneys who are not
    specialized in this area of law need intensive training and support to be able to effectively
    represent their clients.
12. This work has resulted not only in children stabilizing their legal status but stabilizing their
    lives. Without the looming anxiety of removal proceedings, we have seen children thrive.
    One of our clients, a youth from West Africa who faced parental abandonment and
    persecution in his home country, recently received a full-ride athletic scholarship to
    college.
13. While our work often results in positive outcomes for our child clients, we have also seen
    that government stakeholders benefit from our work. Since its founding in 2015, ImmDef
    has staffed the Detained Juvenile Docket, currently held on Wednesday afternoons at Santa
    Ana Immigration Court. Our presence both as counsel for detained children, as well as
    Friend of Court for unrepresented children, makes the hearings run much more efficiently.
    Judges are not required to painstakingly attempt to explain immigration law or next steps
    to children—rather, they can move quickly through hearings, because the children are
    assisted in the matters by counsel or Friend of Court. Over the years, ImmDef has appeared
    before multiple Immigration Judges who preside over the Detained Juvenile Docket, and
    each has expressed their gratitude for our pro bono assistance on the cases.
14. We have also developed strong stakeholder relationships with ORR Federal Field
    Specialists and ORR-subcontracted facility staff. As ORR and the subcontracted facility
    work to care for the children, ImmDef provides key information to the children about the
    next steps in their immigration processes and reassurances about what’s to come. We have
    often heard from ORR-subcontracted staff that receiving appropriate immigration advice
    alleviates children’s anxiety and stress. Further, as mentioned above, we are often able to
    help ORR staff and ORR-subcontracted facility staff identify issues the children are facing,
    because children may feel more comfortable sharing these concerns with a third party.
    Whether it’s a child sharing that they have not been provided with sufficient clean clothing,


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   or that they have been subjected to sexual abuse in care, our ability to note these issues and
   raise them appropriately means that children are better protected, and ORR is able to
   urgently respond to pressing needs. Over the years, we have worked alongside multiple
   Federal Field Specialists in the greater Los Angeles region who have expressed that they
   rely on and trust us to raise issues that may be occurring at the subcontracted facilities. In
   some cases, our notifications led ORR to investigate and take corrective action against
   subcontracted facilities.
15. We have also developed positive working relationships with Immigration and Customs
    Enforcement Office of the Principal Legal Advisor (“OPLA”) attorneys. For example,
    when children who were previously enrolled in the Migrant Protection Protocol (“MPP”)
    started entering ORR-subcontracted facilities in 2019, the government was not adequately
    tracking them. Through our work in ORR-subcontracted facilities, ImmDef was able to
    identify these children and notify OPLA of their presence in ORR custody before they
    received an in absentia order for failing to appear at their immigration hearings in MPP. A
    child being ordered removed for failing to appear at a hearing through no fault of their own
    because they were in federal custody in a distant location is an illogical outcome all parties
    wanted to avoid.
16. The arrival of MPP-impacted children into ORR custody was just one instance when
    ImmDef stepped in to fill a gap in communication between government agencies. During
    the “Zero Tolerance” policy in 2017 and 2018, when children were routinely being
    separated from their parents, we found that ORR-subcontracted facilities often did not
    know where parents were detained or how to contact them. ImmDef played a key role in
    locating separated parents for children’s case managers to ensure that parents and children
    had contact, and that ORR knew where parents were being held. More recently, we have
    seen the same pattern play out, with parents being separated from their children because
    they are serving as material witnesses, because of hospitalizations, or for a number of other
    reasons. ImmDef has been the first to identify the separation and flag it for ORR, to locate
    the separated parent, and to assist in troubleshooting barriers to communication between
    the child and parent in multiple instances. Thus, we have seen that ORR-subcontracted
    facilities often rely on ImmDef to bridge gaps in communication or tracking of families
    between government agencies that interact with the children.
17. On March 21, 2025, HHS (through the U.S. Department of the Interior) partially terminated
    the current contract with Acacia Center for Justice (to which our organization is a
    subcontractor) that funds legal services for unaccompanied children. Effective
    immediately, HHS’ terminated the contract with respect to 3 of the 4 Contract Line
    Numbers (CLINs): CLIN 2, Legal representation for unaccompanied children as well as
    other non-representation services such as referrals and data tracking; CLIN 3, which funds
    Immigrant Justice Corps fellows who represent unaccompanied children not covered under
    CLIN 2, and CLIN 4, Spanish language tutoring for organizational staff who work with

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   children. For the time being, HHS has left in place CLIN 1, which funds KYR presentations
   and confidential legal consultations for pro se children in ORR facilities. Per the partial
   termination, HHS ordered Acacia and all subcontractors to stop work immediately on
   CLINs 2, 3, and 4. HHS provided no justification for the partial termination other than “the
   Government’s convenience.”
18. At around 8:15 AM on Friday March 21, our office received an email from the Acacia
    Center for Justice notifying us of the contract termination they had received from the
    Department of the Interior. ImmDef staff was already in our offices, on the way to hearings,
    and preparing to meet with detained clients. Our work was unable to stop as requested due
    to our ethical responsibilities under California Attorney Ethics rules to zealously represent
    our clients and avoid prejudice to their cases.
19. Over the ten years that ImmDef has participated in the contract, ImmDef has built an active
    client caseload of 1,900 clients and has represented nearly 4,000 children in total. We have
    provided non-representation legal services to over 25,000 children. We hired staff and
    opened satellite offices to meet the demands of contract deliverables and ensure children
    in need were being served. While no individual contract year was ever guaranteed, we
    relied on the fact that these services are mandated in the Trafficking Victims Protection
    Reauthorization Act (“TVPRA”) and the multi-year nature of the contract to make
    decisions regarding our organization’s growth. The abrupt termination of the contract puts
    the organization as a whole in peril. Funding impacted by the contract termination makes
    up approximately 55% of ImmDef’s budget.
20. As mentioned above, we employ 113 of our approximately 200-person staff under this
    grant. While we have limited flexible funding that has allowed us to continue to employ
    staff to discharge our ethical responsibilities to our clients following the contract
    termination we cannot continue for long without reinstatement of unaccompanied
    children’s funding. Our current reserves will be completely exhausted within six months,
    and dramatic cuts in staffing will be needed well before that to avoid completely
    bankrupting the organization. In fact, we have already had to provide 27 staff with layoff
    notices in response to the contract termination. Further, before the contract termination, our
    reserves were intended to fund other mission-focused work such as providing pro se clinics
    to new arrivals and rapid response to immigration raids. Reallocating those reserves to
    fund the children’s work would have negative ripple effects across our entire organization.
    We have taken additional steps to prevent further dipping into our reserves, including
    stopping any non-essential support for clients, such as helping to pay for medical exams
    needed for adjustment of status applications, and putting a pause on all non-essential office
    supply purchases.
21. As reserves run out, we would have to take drastic action to terminate staff across all
    positions funded under this contract. As mentioned, we have already sent layoff notices to


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   27 staff, but additional layoffs would be necessary were the funding not restored. These
   cuts would be incompatible with our ethical responsibilities to the over 1,900 child clients
   we currently represent. We have limited ability to retrain and reassign staff to other
   programs under other funding sources. Prior to each grant or contract year, agreements are
   outlined, and existing staff are identified within each program for the contract or grant year,
   which results in little room for unexpected shifts in already approved budgets.
   Restructuring other grants to absorb unaccompanied children’s staff mid-year is not
   feasible, and we don’t have the capacity or the ability to absorb over 1,900 cases into other
   attorneys’ caseloads. Furthermore, retraining staff takes time and resources—resources that
   our organization does not have without this funding.
22. Additional furloughs and layoffs are inevitable if we are not able to restore funding.
    However, as mentioned—we have over 1,900 open children’s cases. Laying off staff
    funded under this grant would prevent us from competently representing our existing child
    clients. In response to a prior stop work order, we instituted a hiring freeze, which will
    remain ongoing in light of the contract cancelation. There are open positions of case-
    carrying attorneys and paralegals that we cannot fill, putting additional strain on a team
    that will be further exacerbated in light of the contract termination.
23. The contract termination presents an immediate existential threat to ImmDef’s existence
    and to our mission. The contract termination froze, without notice, funding to represent
    nearly 2000 children with whom we undertook attorney-client relationships in reliance on
    that funding. These cases are complex, often take years to complete, and require highly
    skilled attorneys to competently handle them. For example, our office filed an asylum
    application for one youth from West Africa in February 2025. He. is currently awaiting an
    interview with the asylum office. As a speaker of a language from the Niger-Congo
    language family, his case requires specialized translations and in-depth country conditions
    research. His case could be pending before the asylum office for years, and without
    representation at the ready, he risks having to present his asylum case before USCIS alone.
24. Currently, we have over twenty-five immigration and state court hearings for children
    whose representation is funded under the contract scheduled in the week following the
    contract termination, including one for a 4-year-old child from Mexico. It would be
    impossible to withdraw from these cases on such short notice without seriously prejudicing
    our clients—if the courts would even allow us to do so.
25. It has been a full-time job, as the leader of our Children’s Representation Project, to field
    questions from staff about what the abrupt contract termination means for them and for
    their clients. It has been a challenge to keep staff focused on representing clients while they
    understandably feel panic about whether they will even have a job tomorrow. While we
    continue to provide key non-representational services and represent existing clients, the
    contract termination has forced us to stop offering new representation to children currently


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       detained. At this very moment, there are children in ORR custody who need our
       representation who are not receiving it. This means that children who want voluntary
       departure will have their return home unacceptably delayed, victims of trafficking will not
       be able to access the protections they deserve, and children fleeing persecution will not be
       able to have their day in court. These impacts are unacceptable to an organization founded
       on the belief that no child—some of whose feet don’t even touch the floor when they sit in
       court—should have to face a trained government prosecutor alone.
I declare under penalty of perjury that the foregoing is true and correct.


Executed on the 24 of March 2025, in Riverside, California.




___________________________
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